Case 1:90-cr-00446-FB Document 1180 Filed 08/03/05 Page 1 of

UNITED STATES DISTRICT COURT oye

EASTERN DISTRICT OF NEW YO

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UNITED STATES OF AMERIGA, "IN CLERK'S OFFICE

Districy COURT, ED.NY.

* Aus o 2005 ye ORDER

Uf.
BROOKLYN OFFICE CR-90-446(s-1)(FB)

 

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Vittorio Amuso ,
Defendants.

On July 29, 2005 the defendant filed a pro se application requesting a certificate of appeal
ability so he may obtain permission from the Court of Appeals to file a successive petition pursuant to
Blakely. The Supreme Court is it’s decision has made it clear that this new ruling is not to be applied
retroactively. Accordingly it is

HEREBY ORDERED jhat pro se defendant’s application is DENIED.

SQ.ORDERED. p
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MITED STATES DIGhIct JUDGE

 

DATED: Brooklyn, N.Y.
August 2, 2005
